
USCA1 Opinion

	










          June 5, 1996
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


            No. 96-1240




                    LUC GAETAN YARGEAU, A/K/A LUKE GAETAN YARGEAU,

                                     Petitioner,

                                          v.

                       IMMIGRATION AND NATURALIZATION SERVICE,

                                     Respondent.


                                 ____________________


                                     ERRATA SHEET

                 The  opinion of  this Court  issued on  May 30,  1996 is
            amended as follows:

                 On the cover sheet,  after the line under the  date, add
            the following line:

            Luc Gaetan Yargeau on Petition for Review pro se.
            __________________

































            May 30, 1996        [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 96-1240



                    LUC GAETAN YARGEAU, A/K/A LUKE GAETAN YARGEAU,

                                     Petitioner,

                                          v.

                       IMMIGRATION AND NATURALIZATION SERVICE,

                                     Respondent.


                                 ____________________


                        ON PETITION FOR REVIEW OF FINAL ORDER
                         OF THE BOARD OF IMMIGRATION APPEALS

                                 ____________________



                                        Before

                               Torruella, Chief Judge,
                                          ___________
                          Boudin and Lynch, Circuit Judges. 
                                            ______________



                                 ____________________


                                 ____________________


            Luc Gaetan Yargeau on Petition for Review pro se.
            __________________






















                      Per Curiam.  After careful review of the record and
                      __________

            the petition for review,  we find no reversible error  in the

            BIA  decision.   Accordingly, we affirm,  essentially for the

            reasons stated  in that  decision, adding only  the following

            comments.

                 1.   Contrary to petitioner's assertion,  his Maine drug

            conviction  is an "aggravated felony"  in the context of this

            deportation   proceeding.     See   8  U.S.C      1101(a)(43)
                                          ___

            ("aggravated   felony"   includes   illicit  trafficking   in

            controlled  substances  as  defined   in  21  U.S.C.     802,

            including drug trafficking  crimes as defined in 18  U.S.C.  

            924(c));  Amaral v. INS, 977  F.2d 33, 35-36  (1st Cir. 1992)
                      ______    ___

            (explaining  the definitions  of "aggravated"  and "felony").

            In any  event, the  point is  not properly  raised to  us, as

            petitioner  conceded  his  deportability in  the  proceedings

            before the immigration judge and the BIA.

                 2.    The  BIA's  description  of  petitioner's juvenile

            record is supported by the evidence presented by petitioner's

            witnesses.  To the extent that  petitioner disputes the BIA's

            characterization  of his juvenile arrest for theft as one for

            "robbery," we  find any  such inaccuracy on  this tangential,

            background point to  be harmless.  See White v.  INS, 17 F.3d
                                               ___ _____     ___

            475, 479 (1st  Cir. 1994)  (INS error is  harmless unless  it

            could have affected the decision).  





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                 3.  We perceive no merit  in petitioner's assertion that

            "many  other mitigating circumstances"  have been "overlooked

            or  ignored."    Our  review of  the  record  discloses  that

            petitioner, then represented by counsel, had a full and  fair

            opportunity to  present his arguments and  evidence, and that

            the BIA fully considered the arguments and evidence presented

            to it.  We have no authority to consider matters not  brought

            to the BIA's attention.   See 8 U.S.C.   1105a(c); Alleyne v.
                                      ___                      _______

            INS, 879 F.2d 1172, 1182 (1st Cir. 1989).  
            ___

                 4.  Finally, on its merits,  the BIA's decision suggests

            no  grounds  for  reversal.    The  BIA  considered  all  the

            evidence, made specific findings as  to both the positive and

            negative factors, and explained  how it reached the decision.

            The BIA noted  that this was a difficult case  because of the

            factors on both sides, including some outstanding equities in

            petitioner's  favor.    Even  in  light  of  the  outstanding

            equities, the grant or denial of a waiver remains a matter of

            BIA  discretion, and  this court  will not  "second-guess the

            Board on the  manner in  which it  weights different  factors

            when arriving at its ultimate decision."  See Gouveia v. INS,
                                                      ___ _______    ___

            980 F.2d 814, 819 (1st Cir. 1992).

                 There  being  no  substantial  question for  review,  we

            summarily affirm the decision of the BIA and deny and dismiss
                      ______                             ____     _______

            the petition for review.  See 1st Cir. Loc. R. 27.1.
                                      ___





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